                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


 VIRGINIA COALITION FOR                           )
     IMMIGRANT RIGHTS, etal.                      )
                                                  )
                Plaintiffs,                       )
                                                  )
        V.                                        )   Civil Action No. 1:24-cv-1778 (PTG/WBP)
                                                  )
 SUSAN BEALS.                                     )
 in her official capacity as Virginia             )
     Commissioner of Elections, et ai,            )
                  Defendants.                     )
                                                  )




 UNITED STATES OF AMERICA,                        )
                                                  )
                Plainti,ff                        )
                                                  )
        V.                                        )   Civil Action No. 1:24-cv-1807 (PTG/WBP)
                                                  )
 COMMONWEALTH OF VIRGINIA, et ai,                 )
         Defendants.                              )
                                                  )
                                                  )

                                             ORDER


       This matter is before the Court on its own initiative. On October 16, 2024, this Court


entered an Order directing the parties in each case, Virginia Coalition for Immigrant Rights, et al,

V. Susan Beals, et al.. Civil Action No. l:24-cv-1778 (Dkt. 40), and United States ofAmerica v.

Commonwealth of Virginia, et al. Civil Action No. 1:24-cv-1807 (Dkt. 7), to show cause by noon

on Friday, October 18, 2024, as to why these cases should not be consolidated pursuant to Federal

Rule of Civil Procedure 42(a).       No party has filed any pleading indicating such cause.

Accordingly, it is hereby
       ORDERED that


           ●   Virginia Coalition for Immigrant Rights, et al, v. Susan Beals, et al. Civil Action

               No. 1:24-cv-1778, and United States of America v. Commonwealth of Virginia, et

               al., Civil Action No. 1:24-cv-1807, are consolidated;

           ●   Virginia Coalition for Immigrant Rights, et al, v. Susan Beals, et al, Civil Action

               No. l:24-cv-1778 is designated as the lead case. Documents should bear both case

               numbers and need only be filed in the lead case.



       The Clerk is DIRECTED to enter this Order on both dockets.




Entered this           of October, 2024.
Alexandria, Virginia                                                        v
                                                         Patricia Tolliver Giles
                                                         United States District Judge




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